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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **        *
  AL-JUTHOOR CONTRACTING                     *
  COMPANY,                                   *
                                             *
                    Plaintiff,               *
                                                 No. 14-5C
                                             *
  v.                                             Filed: June 9, 2017
                                             *
  UNITED STATES,                             *
                                             *
                    Defendant.               *
   * * * * * * * * * * * * * * * * **        *


                                       ORDER

       The court is in receipt of the parties’ June 8, 2017 joint stipulation for entry of
judgment in the above-captioned case. In accordance with the parties’ joint stipulation,
this court ORDERS that this case be DISMISSED, with prejudice, with each party to bear
its own costs, fees, and expenses. As stipulated to by the parties, the Clerk of the Court
shall enter JUDGMENT for plaintiff in the amount of $50,000.00, inclusive of interest.


       IT IS SO ORDERED.

                                                    s/Marian Blank Horn
                                                    MARIAN BLANK HORN
                                                             Judge
